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                                  Exhibit A
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                “‘The recount is almost over, and in this contest for
               attorney general … it’s become apparent that our
               campaign is going to come up a few votes short,’
               Obenshain said, noting that he’d already called Herring
               to offer his congratulations. ‘It was a vigorous and hard-
               fought campaign, but it’s over.’ Obenshain’s concession
               will end a recount process that began on Nov. 5, when
               the two candidates were separated by a razor-thin
               election night margin. Herring defeated Obenshain by
               165 votes out of more than 2.2 million votes cast,
               according to results certified by the Virginia Virginia
               Department of Elections on Nov. 25.”

                       - Politico, December 18, 2013, covering
                         Republican Mark Obenshain’s whisker thin loss
                         in the Virginia Attorney General’s race.


Only Americans Should Choose American Leaders
Citizenship is the most fundamental element of eligibility to vote in American elections. Every
state requires voters to be U.S. citizens to vote in state elections. 1 The Virginia Constitution,
specifically, delineates that “[e]ach voter shall be a citizen of the United States.” 2 Only
Americans should choose American leaders. Federal law makes it a crime for an alien to register
to vote or to vote in a federal election. Simply put, it is a felony for a non-citizen to register and
to cast a ballot. 3 Each time such a crime is perpetrated, whether by accident or willfully, a citizen
is effectively disenfranchised.

The right to vote free from dilution by aliens is safeguarded primarily in several places—all of
them appear to be failing to prevent aliens from participating in American elections and in the
Commonwealth of Virginia. On the front end, federal law requires election officials to use
reasonable efforts to identify and remove ineligible registrants from the voter rolls. The Federal
voter registration form purports to prevent aliens from registering to vote, but it is an ineffective
honor system under which the alien need merely lie to get on the voter rolls. On the back end,
federal and state law enforcement officials are entrusted with prosecuting non-citizens who
register and vote as a means to deter others from doing the same. Here too, the system is failing
because the Obama administration has ignored instance after instance of voter fraud.

1
  See U.S. Dept. of Just., Federal Prosecution of Election Offenses 66 (7th ed. 2007), available at
https://www.justice.gov/sites/default/files/criminal/legacy/2013/09/30/electbook-rvs0807.pdf
2
  Va. Const., Art. II, Sec. 1.
3
  18 U.S.C. § 1015(f). It is also a felony for an individual to simply “falsely and willfully
represent[] himself to be a citizen of the United States.” 18 U.S.C § 911.

                                                  1
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In practice, none of these so-called safeguards is functioning correctly. Based on voting history
records, large numbers of ineligible aliens are registering to vote and casting ballots. They are
canceling out the valid votes of American citizens. In some Virginia jurisdictions, the number of
people registered to vote exceeds the number of citizens eligible to vote. When the Justice
Department has been told of aliens registering to vote and committing federal felonies, nothing is
done.

Summary of Findings
An investigation in Virginia by the Public Interest Legal Foundation (PILF) and the Virginia
Voter’s Alliance (VVA) shows that the cause of this problem is something much worse than
simple ineffective governance. Worse still, Virginia state election officials are obstructing access
to public records that reveal the extent to which non-citizens are participating in our elections.
These obstructionist tactics have led to PILF and VVA obtaining data from only a handful of
Virginia counties so far. But the information from a few counties demonstrates a massive
problem.

In our small sample of just eight Virginia counties who responded to our public inspection
requests, we found 1046 aliens who registered to vote illegally.

The problem is most certainly exponentially worse because we have no data regarding aliens on
the registration rolls for the other 125 Virginia localities. Even in this small sample, when the
voting history of this small sample of alien registrants is examined, nearly 200 verified ballots
were cast before they were removed from the rolls. Each one of them is likely a felony.

Again, this is from just a small sampling of Virginia counties. Each of the aliens we have
discovered to have registered or voted has likely committed a felony. Will the Justice
Department act now that their names, registration records and dates of voting are herein
provided?

Ultimately, the number of illegal votes doesn’t matter when the integrity of the process is at
stake. Nobody should tolerate voter fraud, whether it comes in bunches as we describe here,
happens occasionally, or decides the outcome of an election. Lawlessness in elections is a
precursor for lawlessness across our government and culture. The response of law enforcement
officials to both single instances of voter fraud and the hundreds of examples documented in this
report should be the same: swift, sure and unwavering. No excuses should be made for the
lawless who taint the electoral process.

                                                            In Virginia, like most states, there is
                                                            no formal program for identifying
 The most alien votes were cast in 2012, followed           non-citizen registrants. The
 by 2008, the year President Obama was elected to           Commonwealth formerly arranged to
 his first term.                                            use the Federal Systematic Alien
                                                            Verification for Entitlements (SAVE)
                                                            database to detect aliens, but vigorous

                                                 2
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use seems to have ended during the administration of Governor Terry McAuliffe. Most
discoveries of non-citizens on the registration rolls are accidental or chance. What this means is
that the number of registered non-citizens thus far identified by this investigation is just the “tip
of the iceberg.” The true extent of the problem likely runs in the thousands, if not more. And it is
not unique to Virginia.

There is plenty of blame to go around. One culprit, however, is glaringly obvious—federal and
state voter registration forms, which ask registrants to affirm their citizenship with nothing more
than the check of a box. No documentary proof of citizenship must be shown. It is nothing more
than an honor system, one that is unquestionably failing to keep non-citizens from voting. States
that have tried to remedy this problem by asking registrants to prove their citizenship with
documentary proof have uniformly been stonewalled by litigation brought by our own
Department of Justice and legions of attorneys working with left-leaning voter groups committed
to keeping ineligible voters on the rolls.

This report demonstrates the serious problem that unelected election officials have refused to
address and even conspired to hide. It is our hope that this report will result in swift change and
restore confidence in our elections.

When an alien completes a voter registration form, they commit a felony.
This report must begin with the relevant law. It is only with that in mind that the reader can
comprehend the gravity of the problem Virginia and other states are facing when it comes to
non-citizen participation in our elections. When non-citizens register or actually vote, they
violate both state and federal statutes because citizenship is a requirement to vote in both state
and federal elections.

The offenses a fraudulent voter might commit when he registers and votes are numerous:

   x   Virginia Code § 24.2-1004: Criminalizes casting an illegal ballot.
   x   Title 18, United States Code § 611: Criminalizes voting by illegal aliens in federal
       elections.
   x   Title 18, United States Code § 911: Criminalizes representing oneself to be a citizen of
       the United States.
   x   Title 18, United States Code § 1015: Criminalizes false statements in order to register to
       vote or to vote in any Federal, State, or local election.
   x   Title 52, United States Code § 20511: Criminalizes the fraudulent submission of voter
       registration applications and the fraudulent casting of ballots.

The United State Attorney General and the law enforcement officers in the Commonwealth of
Virginia are, respectively, authorized to prosecute violations of all of these statutes. Given that
the integrity of an election is where the consent of the governed is obtained, you would think that
federal and state elections officials would treat these crimes with appropriate seriousness. As will
be discussed later in this report, that is, however, not the case.


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The National Voter Registration Act and the Help America Vote Act
The problems in Virginia and other states can be traced as far back as 1993. Within months of
assuming the Presidency, Bill Clinton signed into law the National Voter Registration Act
(“NVRA”) 4, a sweeping piece of legislation that proponents claimed would increase the number
of registered voters and participation in our elections. One thing is for sure— it has increased the
number of ineligible voters on state voter rolls.

The NVRA, commonly known as “Motor Voter,” requires each state to offer voter registration to
any individual that applies for a driver’s license. 5 This provision of the law requires the applicant
to swear to his or her citizenship under penalty of perjury, 6 but does not permit nor deny the
state’s ability to verify citizenship through formal documentation. Instead, the law provides that
the states “may require only the minimum amount of information necessary to . . . enable State
election officials to assess the eligibility of the applicant and to administer voter registration and
other parts of the election process.” 7

Attempts by various states to require registrants to provide documentary proof of citizenship
during registration for federal elections have been thwarted by lawsuits brought by left-leaning
voter groups and the Department of Justice. Virginia therefore requires applicants to merely
check a box in order to “prove” their citizenship status.

The NVRA also allows
individuals to register to
vote through the mail using
the federal voter
registration form (the
“Federal Form”), a
document that is developed
and maintained by a
federal agency called the
Election Assistance Commission. In 2002, the Help America Vote Act added a citizenship
question to the Federal Form. 8 Like Virginia’s state registration form, the Federal Form requires
only that a registrant check a box to “prove” his or her citizenship. Under the NVRA, state are
required to “accept and use” the Federal Form for purposes of registration, 9 but the law does not
prevent states from applying their own eligibility requirements.



4
  52 U.S.C. § 20501 et seq.
5
  See 52 U.S.C. § 20504(a)(1) and (c)(1).
6
  52 U.S.C. § 20504(c)(2)(C).
7
  52 U.S.C. § 20504(c)(2)(B)(ii).
8
  52 U.S.C. § 21083(b)(4)(A)(i).
9
  52 U.S.C. § 20505(A)(1).

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The NVRA also imposes voter list maintenance and record keeping obligations. The law does
not contain of checklist of required actions, but rather states generally that election officials must
“conduct a general program that makes a reasonable effort to remove the names of ineligible
voters from the official lists of eligible voters by reason of . . . the death of the registrant or a
change in the residence of the registrant.” 10 What constitutes a “reasonable effort” is not
provided by the statute, which has often made litigation necessary to enforce these list
maintenance obligations.

Election officials must also “maintain for at least 2 years” and “make available for public
inspection” “all records concerning the implementation of programs and activities conducted for
the purpose of ensuring the accuracy and currency of official lists of eligible voters.” 11 Like the
NVRA’s list maintenance provision, the public inspection provision suffers from ambiguity,
allowing election officials to deny access to records based on their unilateral determination that
certain records are outside the scope of the statute. In one such example, the nonprofit
organization Project Vote endured three years of litigation simply to obtain copies of completed
voter registration applications requested from the General Registrar of Norfolk, Virginia—
records which the Fourth Circuit Court of Appeals ruled were “unmistakably” within the scope
of records that election officials must make publicly available for inspection. 12

PILF has filed four separate lawsuits in 2016 alone to force election officials to allow inspection
of their election records. In Virginia, election officials have opposed transparency and many
Virginia counties are not in compliance with federal law regarding our requests and may
yet be sued in federal court to obtain requested records.

The NVRA authorizes the federal Attorney General to enforce the NVRA’s mandates, including
the statute’s list maintenance and public inspection provisions. 13 However, this grant of authority
has been sparingly used during the Obama years because officials within the enforcing agency—
the Department of Justice Civil Rights Division—are ideologically opposed to enforcing this
federal law. Justice Department officials are aware of corrupted voter rolls, but their politics
prevent them from doing the right thing.




10
   52 U.S.C. § 20507(a)(4).
11
   52 U.S.C. § 20507(i).
12
   Project Vote / Voting for Am., Inc. v. Long, 682 F.3d 331 (4th Cir. 2012).
13
   52 U.S.C. § 20510(a).

                                                  5
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Obstruction Begins in Alexandria
The effort to obscure the number of non-citizens who are registering and voting in Virginia
began in the City of Alexandria.

In January 2016, the election integrity group Virginia Voter’s Alliance (VVA) contacted
Alexandria General Registrar Anna Leider, notifying her that based on implausible registration
data, her office appeared to be in violation of the NVRA’s mandate that she use reasonable
efforts to remove ineligible registrants. The letter additionally requested access to ten
categories of records concerning Ms. Leider’s list maintenance programs pursuant to the
NVRA’s public inspection provision.

In April 2016, PILF, on behalf of VVA and David Norcross, a private Alexandria citizen, sued
Ms. Leider under the NVRA’s private right of action, alleging that her office violated the NVRA
by refusing to provide inspection of election records and for failing to conduct reasonable list
maintenance practices.

After a court hearing where Alexandria said it would make the requested records available, VVA
then proceeded to visit Ms. Leider’s office to inspect the city’s records.

Among the records uncovered at Ms. Leider’s office was a list of registrants who had been
purged from the voter rolls because they were determined to not be U.S. citizens. The list
includes hundreds of non-citizen registrants, all of whom had likely committed felonies by
registering to vote.

When VVA asked to photocopy the list, Ms. Leider refused, contradicting her statements made
to the court. Her refusal, however, was directed by state election officials. Ms. Leider’s
attorney later stated that she cannot provide the list because of “guidance” from the
Virginia Department of Elections. The excuse was that the reason for a registrant’s
cancellation—including by reason of non-citizen status—is confidential, and such information
can neither be inspected nor duplicated.

A week later, and over eight months after the initial request was made, Ms. Leider finally
capitulated. Her attorney provided VVA with a list, identifying 70 registrants who had been
removed from Alexandria’s registration lists after they were determined to not be U.S.
citizens. These were just the aliens who were caught.

Records showing the removal of ineligible non-citizen registrants are quintessentially records
“concerning the implementation of programs and activities conducted for the purpose of ensuring
the accuracy and currency of official lists of eligible voters,” 14 records that must be made
available for public inspection under the NVRA. Yet it took months of negotiations and a
federal lawsuit to bring these records to the public’s attention.



14
     52 U.S.C. § 20507(i).

                                                6
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Did any of the non-citizens removed from Alexandria’s registration lists cast votes? Ms. Leider
wouldn’t tell PILF. According to her attorney, that information, too, is “confidential and
available only for official use by the Department of Elections and general registrars.” As
discussed later in this report, some of these individuals have, in fact, participated in Virginia’s
elections.

The Virginia Alien Voter Cover-up Goes Statewide
Alexandria is not the only jurisdiction that concealed the commission of felonies committed by
non-citizen voters in Virginia. Upon the discovery of Alexandria’s list of purged non-citizen
registrants, PILF utilized the NVRA’s public inspection provision to request similar
information from 19 Virginia counties and cities on August 8, 2016. Nearly all of the
counties have failed to comply with their federal obligation to provide transparent list
maintenance records to us.

Requests for a list of non-citizens purged from the voter lists since 2011 were made to the
following Virginia counties and cities:

     x   Arlington
     x   Albemarle
     x   Bedford
     x   Chesterfield
     x   Fairfax City
     x   Fauquier
     x   Frederick
     x   Falls Church
     x   Loudon
     x   Hampton
     x   Hanover
     x   James City
     x   Lancaster
     x   Manassas
     x   Prince William
     x   Roanoke
     x   Stafford
     x   Rappahannock
     x   York
The election officials in charge of these jurisdictions were sometimes responsive, at first. Prince
William County provided a list of 433 non-citizens who had registered to vote in the county,
but were then removed after they were determined to not be U.S. citizens. 15

15
  See Exhibit 1. PILF notes that, on page 1, one registrant appears to be listed twice. However,
on page 29, Prince William County lists the “Declared Non-Citizen Total” at 433 individuals.


                                                 7
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This is where production of records required to be released effectively stopped. Over the course
of August and September 2016, responses from election officials rolled in, each one explaining
that state election officials had instructed them not to provide lists of non-citizens who had
been removed from Virginia’s voter rolls.

The responses were nearly identical and soon it became clear that
they were orchestrated by Edgardo Cortes, the Commissioner of
the Virginia Department of Elections, and an appointee of
Governor McAuliffe. According to numerous county election
officials, Commissioner Cortes had issued guidance to them,
instructing them not to respond to our requests for records
pertaining to non-citizen voters. Some election officials kindly
provided us the original communications from Cortes.

The guidance from Commissioner Cortes included these
instructions: 19




This is what a cover-up of alien voting looks like. State election officials are preventing public
access not only to records showing the number of non-citizens who have successfully registered
to vote, but also records showing how many of them voted prior to being removed from the
registration rolls.


19
     The email is reproduced in its entirety at Exhibit 5 to this report.

                                                     9
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Commissioner Cortes’ guidance was distributed statewide on August 19, 2016. Yet not until
September 16 did Commissioner Cortes contact PILF. In his correspondence, Commissioner
Cortes offered to provide a “customized report” at a cost of $240, 20 a report that he claimed
would satisfy our request concerning non-citizens. It wouldn’t.

Commission Cortes refused to provide a list of non-citizens who have been purged from the
registration list in each jurisdiction. He likewise refused to provide the voting history of
purged non-citizens, reiterating his position that such information is not subject to release under
the NVRA’s public inspection provision, but is available only to “qualified entities” under
limited circumstances. 21

The Virginia State Board of Election’s Excuses to Hide the
Scope of Alien Registration
The Drivers Privacy Protect Act

According to the guidance issued to county election officials, Commissioner Cortes states that a
list of registrants purged from Virginia’s registration lists cannot be provided to the public
because such information is protected from release by the federal Driver’s Privacy Protection
Act (DPPA). This is nonsense.

The DPPA makes it “unlawful for any person knowingly to obtain or disclose personal
information, from a motor vehicle record, for any use not permitted” by one of fourteen
exceptions to the prohibition on disclosure. 22 According to Commissioner Cortes, neither general
registrars nor the Department of Elections can disclose a list of registrations cancelled by
election officials because, according to him, a registrant’s citizenship status, as indicated on his
driver’s license application, is “personal information.” Commissioner Cortes is plainly wrong for
numerous reasons.

PILF seeks list maintenance records from election officials, not from any other state agency. The
DPPA prohibits only the disclosure of “personal information” from a “motor vehicle record.” 23
“Motor vehicle record” is defined by the law; it includes “any record that pertains to a motor
vehicle operator’s permit, motor vehicle title, motor vehicle registration, or identification card
issued by a department of motor vehicles.” 24 Neither the registrant’s citizenship status nor the
reason for the registrant’s cancelation is “personal information” under the DPPA.

20
   This cost was later waived after we informed Commissioner Cortes that the NVRA permits
election officials to charge “reasonable costs” for “photocopying” only. 52 U.S.C. § 20507(i)(1).
It does not permit election officials to impose costs for time spent producing records.
21
   The email is reproduced in its entirety at Exhibit 6 to this report.
22
   18 U.S.C. § 2722(a).
23
   18 U.S.C. § 2722(a).
24
   18 U.S.C. § 2722(a).


                                                10
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The DPPA prohibits the disclosure of only “personal information” and highly restricted personal
information.” 25 “Personal information” is defined by the law; it includes “information that
identifies an individual, including an individual’s photograph, social security number, driver
identification number, name, address (but not the 5-digit zip code), telephone number, and
medical or disability information.” 26 “Highly restricted personal information” is “an individual’s
photograph or image, social security number, medical or disability information.” 27

List maintenance records pertaining to the removal of aliens from the rolls has nothing to do with
a motor vehicle record or any protected personal information or highly restricted personal
information.

Voter History
Commission Cortes’ guidance directed local election officials to conceal records showing the
voting history of any individual whose registration was cancelled for reasons of citizenship.
According to Commissioner Cortes, documents concerning voting activity are not covered under
the NVRA’s public inspection provision and can only be disclosed publicly as permitted by
Commonwealth law, which permits disclosure, at a reasonable cost, only to a list of qualified
entities. 28
In the end, the State Board could not conceal the extent of alien voting because PILF and VVA
worked with a third party with access to voter history to determine which of the aliens who
registered to vote, actually voted. Not surprisingly, many ballots were cast by these aliens.

The Extent of the Non-citizen Registration in Virginia
Despite the cover-up orchestrated by state election officials, PILF was successful in procuring
additional data concerning non-citizen voter registration in Virginia. It was, however, not easy.
Federal law says it should be easy, but Virginia has a great deal to hide when it comes to alien
registration and voting.
By way of dozens of phone calls and in-person visits to election offices, we were able to extract
additional information from local registrars concerning non-citizen participation in Virginia’s
elections. Some officials, however, stood firm, refusing to provide us with the requested
information. The information we have been able to gather thus far demonstrates what many of us
already knew: non-citizens are registering and voting in our elections. The obstructionist
effort led by state election officials has prevented us from learning how much deeper the
problem runs.




25
   18 U.S.C. § 2722(a).
26
   18 U.S.C. § 2725(3).
27
   18 U.S.C. § 2725(4).
28
   Va. Code Ann. § 24.2-406.

                                                11
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Below is the number of registrants per jurisdiction that have been removed from the voter rolls
since, at most, 2011.


                Noncitizens On The Rolls in Eight Counties
         TOTAL (1046)

 Prince William (433)

         Loudon (310)

         Stafford (128)

       Alexandria (70)
                                                                        Removed Noncitizens
          Bedford (35)

         Hanover (28)

         Roanoke (22)

       Fairfax City (20)

                           0   200   400   600   800   1000    1200


This data is but a minor snapshot of the problem. It represents non-citizen registrants in only 8 of
Virginia’s 133 voting jurisdictions and includes only those non-citizens that were discovered to
have been improperly registered. Because no formal programs exist in Virginia to identify non-
citizen registrants, the discovery and removal of these non-citizens is either by accident or
because the registrant later indicated to election officials that he or she was not a citizen. The
total number of non-citizens that remain registered to vote therefore cannot be completely
ascertained. It is, however, likely, that based on discoveries to date, thousands of non-citizens
remain registered and eligible to vote throughout the Commonwealth.
At the instruction of Commissioner Cortes, local election officials refused to provide us with
records showing the voting history of non-citizens removed from registration lists.
In the 8 jurisdictions that provided us with lists of aliens recently removed from their voter rolls,
we discovered that 31 non-citizens had cast a total of 186 votes between 2005 and 2015.
The most alien votes were cast in 2012 followed by 2008, the year President Obama was
elected to his first term.
The bill would have required the clerk of court to “make such information available to local
elections officials so that they could cancel the registration of those individuals deemed
ineligible to vote. The bill’s purpose was clear: prevent ineligible residents from registering and
voting in Virginia’s elections. Governor McAuliffe gave essentially no justification for his
veto of this commonsense law, stating only that the issue needed “addition study.” 29



29
     http://leg1.state.va.us/cgi-bin/legp504.exe?151+amd+HB1315AG.
                                                 12
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It may be no accident that Commissioner Cortes had not done all he could when it comes to
transparency about aliens voting in Virginia elections. Before he was picked by Governor
McAuliffe, he worked at the Advancement Project, an organization strongly opposed to using
citizenship verification tools such as the federal SAVE database.
PILF’s request to local election officials asked for all communications with federal and state law
enforcement officials pertaining to non-citizens who had either registered to vote or voted.
However, we received no records showing that election officials had referred any non-
citizen voters for investigation or prosecution. In fact, some jurisdictions indicated that they
do not even review voter history to identify fraudulent votes. Like our other requests, this
absence of records is due in part to the obstructionist efforts by Commissioner Cortes, whose
guidance to local election officials informed them that communications with law enforcement
officials were not records covered by NVRA and therefore did not need to be provided to PILF.

Systems Failure: The Tradition of Ignoring Alien Voter Fraud in Virginia
The lack of action by the Department of Justice and law enforcement officials in Virginia is
nothing new. In 2011, members of the Fairfax County Electoral Board alerted the Office of the
U.S. Attorney for the Eastern District of Virginia in Alexandria, as well as the Public Integrity
Section of the Criminal Division of the Justice Department (which coordinates election crime
prosecutions) in Washington, of possible voter fraud by non-citizens.




1: Source Virginia State Board of Elections election results website.
The Fairfax County board had discovered 278 registered voters who had represented to the DMV
that they were not U.S. citizens. Almost half of them—117—had not only registered to vote,
they had in fact voted in state and federal elections. The Department of Justice never followed
up, leaving nearly 300 gift-wrapped cases of voter fraud untouched.


                                                                13
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       prosecutors would simply have to verify whether or not the individual was a citizen at the
       time of registration or voting.
Conclusion
The problem is real and the solutions are simple. What is happening in Virginia is happening in
every other state. Your vote is at risk and elected officials must act. You can help. Please contact
your local election officials to ask what they are doing to ensure voter lists are accurate and free
of ineligible voters.




                                                 17
